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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
   10
                                    SOUTHERN DIVISION
   11
         RENO MAY, an individual;                Case No.: 8:23-cv-01696 CJC (ADSx)
   12    ANTHONY MIRANDA, an individual;
         ERIC HANS, an individual; GARY          [PROPOSED] ORDER GRANTING
   13    BRENNAN, an individual; OSCAR A.        PLAINTIFFS’ MOTION FOR
         BARRETTO, JR., an individual;           PRELIMINARY INJUNCTION
   14    ISABELLE R. BARRETTO, an
         individual; BARRY BAHRAMI, an
   15    individual; PETE STEPHENSON, an         Hon. Cormac J. Carney
         individual; ANDREW HARMS, an
   16    individual; JOSE FLORES, an
         individual; DR. SHELDON HOUGH,
   17    DDS, an individual; SECOND
         AMENDMENT FOUNDATION; GUN
   18    OWNERS OF AMERICA; GUN
         OWNERS FOUNDATION; GUN
   19    OWNERS OF CALIFORNIA, INC.;
         THE LIBERAL GUN CLUB, INC.; and
   20    CALIFORNIA RIFLE & PISTOL
         ASSOCIATION, INCORPORATED,
   21
                           Plaintiffs,
   22
                     v.
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         ROBERT BONTA, in his official
   24    capacity as Attorney General of the
         State of California, and DOES 1-10,
   25
                           Defendants.
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                                         [PROPOSED] ORDER
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    1         The motion of Plaintiffs Reno May, Anthony Miranda, Eric Hans, Gary
    2   Brennan, Tony Barretto, Isabelle R. Barretto, Barry Bahrami, Pete Stephenson, Jose
    3   Flores, Andrew Harms, Dr. Sheldon Hough, DDS, The Second Amendment
    4   Foundation, Gun Owners of America, Gun Owners Foundation, Gun Owners of
    5   California, Inc., the Liberal Gun Club, Inc., and the California Rifle & Pistol
    6   Association, Incorporated, came on regularly for hearing on December 4, 2023.
    7   Konstadinos T. Moros appeared on behalf of Plaintiffs. Robert Meyerhoff appeared
    8   on behalf of Defendant Robert Bonta. On proof made to the satisfaction of the
    9   court, and good cause appearing:
   10         IT IS ORDERED that during the pendency of this action, the named
   11   Defendant, his employees, agents, successors in office, and all other public officials
   12   or law enforcement officers in California, as well as their successors in office, are
   13   enjoined and restrained from engaging in, committing, or performing, directly or
   14   indirectly, by any means whatsoever, any enforcement of California Penal Code §
   15   26230, subds. (5), (7), (8), (9), (11), (12), (13), (17), (22), (23), and (26) against any
   16   individuals with concealed handgun licenses issued pursuant to California Penal
   17   Code sections 26150 or 26155. In addition, the entirety of § 26230 is enjoined as it
   18   pertains to parking lots.
   19
   20   IT IS SO ORDERED.
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   22   Dated: _____________________
                                                        Hon. Cormac J. Carney
   23
                                                        United States District Court Judge
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                                        [PROPOSED] ORDER
